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                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                               August 15, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                HOUSTON DIVISION

In re:                                           §   Chapter 7
                                                 §
ALEXANDER E. JONES                               §   Case No. 22-33553
                                                 §
         Debtor.                                 §


    ORDER AUTHORIZING PAYMENT OF FIRST INTERIM AND FINAL FEE
 APPLICATION OF D. R. PAYNE & ASSOCIATES, INC. FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS THE DEBTOR’S FINANCIAL
 EXPERTS FOR THE PERIOD FROM JANUARY 16, 2024 THROUGH JUNE 14, 2024
         ON THIS DATE this Court considered the First Interim and Final Fee Application of D.R.

Payne & Associates, Inc. (“DRPA”) for Compensation for Services and Reimbursement of

Expenses as the Debtor’s Financial Experts for the Period from January 16, 2024 Through June

14, 2024 (the “Application”). The Court finds that it has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334(b); that this is a core proceeding pursuant to 28 U.S.C. § 157(b), and

that the venue of this proceeding in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

The Court has considered the Application and any objections prior to the signing of this order.

Accordingly, IT IS HEREBY ORDERED THAT:
1.       The Application is GRANTED as set forth therein.

2.       DRPA is awarded $162,491.85 for professional fees and services provided during the

Application Period of January 16, 2024, through June 14, 2024.

3.       DRPA is awarded $1,938.92 for reimbursement of actual and necessary expenses incurred

by DRPA during the Services Period.

4.       Notice of the Application provided by DRPA is deemed to be good and sufficient notice

of the Application, and the requirements of the Local Rules are satisfied by the contents of the

Application.
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5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

         IT IS FURTHER ORDERED that, notwithstanding any Bankruptcy Rule to the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.

         Dated: ___________, 2024             _______________________________________
              August15,
             August   02,2024
                          2019                CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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